TH-34 Rev:2014-1
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Gideon Rapaport
(List the full name(s) of the plaintiff(s)/petitioner(s).) 23 cy96709 cae \

-against-

John Does 1-3

NOTICE OF CHANGE OF
ADDRESS

(List the full name(s) of the defendant(s)/respondent(s).}

I hereby notify the Court that my address has changed to the following:

Rapaport, Gideon

Name (Last, First, Ml)

#627 1078 Summit Ave

Jersey City NJ 07307

Address

(862) 213-8095

Telephone Number

11/20/2023

Date

City State Zip Code

gideonrapaportlaw@outlook.com

E-mail Address (if available)

| Digitally signed by Gideon Rapaport
G id eon Ra paport Date: 2023.11.18 16:30:38 -05'00"

Signature
